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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


  GINO D'OTIAVIO,
                                                      Civil Action No. 18-cv-02269
                           Plaintiff,
                                                      Honorable Joseph H. Rodriguez
             v.

                                                         ORDER TO SHOW CAUSE
   ETAN INDUSTRIES,


                           Defendant.



       This matter having come before the Court on its own accord; and the Court finding

that Plaintiff Gino D'Ottavio has failed to prosecute this case and/ or respond to the Order of

Magistrate Judge Karen Williams filed on January 28, 2020 [Dkt. No. 24]; therefore,

       IT IS on this 24th Day of February, 2020 hereby

       ORDERED that Plaintiff Gino D'Ottavio SHOW CAUSE IN WRITING why this case

should not be dismissed for failure to prosecute by March 13. 2020; failure to respond to this

Order will result in the automatic dismissal of this case for lack of prosecution under Local

Civil Rule41.1(a) and Federal Rule of Civil Procedure 41(b); and it is further

       ORDERED that the Clerk shall send a copy of this Order to Plaintiff Gino D'Ottavio by

certified mail.




                                                       H. Rodriguez,
                                                       TES DISTRICT JU
